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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                         :            Case No. 3:18-cr-095 (SRU)
                                                 :
               v.                                :
                                                 :
YEHUDI MANZANO                                   :            October 22, 2018


                    GOVERNMENT’S PROPOSED JURY INSTRUCTIONS

       The Government respectfully submits the attached proposed jury instructions for use in

connection with the trial in the above-captioned case. Unless otherwise noted, the general

instructions, instructions for deliberations, and instructions for closing arguments are derived

principally from the instructions given by the Court in the recent trial United States v.

Connerton, 3:17-cr-47(SRU). The instructions regarding the specific issues and elements of the

charged offenses in Mr. Manzano’s case are derived principally from Leonard B. Sand, et al.,

Modern Federal Jury Instructions (2018) (hereinafter “Sand”). Relevant citations are included

within the text. The Government respectfully requests permission to supplement these proposed

instructions as necessary during the course of trial.



                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 22, 2018, a copy of the foregoing Government’s Proposed
Jury Instructions was filed electronically and served by mail on anyone unable to accept electronic
filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                /s/ Neeraj N. Patel
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INTRODUCTION

       Members of the jury, you now have heard all of the evidence. At this point, I am going to

instruct you regarding the law that applies to this case. At the outset, I want to express my thanks

to you for the time and energy you have devoted to this trial. Jury service is rarely convenient,

but without you, justice could not be done in this case.

       It will take some time for me to read these instructions to you but it is important that you

listen carefully to them. You have been provided with a copy of my instructions so that you can

read along as we go. Please feel free to write on those copies—you will be permitted to take

them into the jury room with you.

       My instructions will be in three parts: First, I will discuss general rules concerning the

role of the court and the duty of the jury in a criminal case; second, I will go over the issues in

this case and set out the specific questions of fact that you must answer based on the evidence at

trial; and third, I will give you some rules and guidelines for your deliberations.

       Before we begin, I ask you to look over the other document that was placed on your

seats—namely, the verdict form. After I have given these instructions and you hear the closing

arguments of counsel, you will go back into the jury room to deliberate. You will have with you

the following: the original of the verdict form, the exhibits, the original and your copies of these

instructions, and any personal notes that you may have taken. At the conclusion of your

deliberations, you will use the verdict form to report your verdict to the court and the parties.




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I.        SECTION I: GENERAL INSTRUCTIONS

          Throughout these instructions, when I say “the government,” I am referring to the United

States. When I say “the defendant,” I am referring to Yehudi Manzano.


     A. Role of the Court

          As Judge, I perform basically two functions during the trial. First, I decide what evidence

you may consider. You have heard me doing that throughout the trial. Second, I instruct you on

the law that you are to apply to the facts in this case. I gave you some preliminary instructions

before trial began, and some during the course of the trial, but it is now—at the close of

evidence—that most of the instructions are given, so please be patient and listen closely.

          If any lawyer states the law differently from the way I am explaining it to you, you are to

follow my instructions.


     B. Instructions to be Considered as a Whole

          This is a long instruction, and I may repeat certain parts. That does not mean that those

parts should be emphasized. You should not single out any one part of my instructions and

ignore the rest. Instead, you should consider all of the instructions as a whole and consider each

instruction in light of all the others. The order in which I give you instructions does not indicate

their relative importance. Do not read into these instructions, or into anything I have said or

done, any suggestion about what verdict you should return—that is a matter for you alone to

decide.

          I should also point out that, although you have been given a copy of the instructions to

follow as I deliver them, it is what I say out loud, on the record, that represents the proper

instructions. If there is any difference between what I say aloud and what is written in your copy

of the instructions, you must follow what I say here in court.

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    C. Both Sides Entitled to a Full and Fair Hearing

        Regardless of your ultimate decision about the outcome of the case, the parties in this

case are entitled to a full and fair hearing. You must remember that one of the most important

functions of our system is to give all the parties a full and fair hearing.

        It is your duty, therefore, to give careful thought to every issue set forth by these

instructions, regardless of any general feeling that you may have about which party is right.


    D. Objections and Rulings

        It is the duty of an attorney to object to testimony or other evidence that the attorney

believes is not properly admissible. Counsel also has the right and duty to ask the court to make

rulings of law and to request conferences out of the hearing of the jury. All questions of law must

be decided by me. You should not prefer or dislike an attorney or a party because an attorney

made objections, because an attorney failed to make objections, or because an attorney requested

a conference out of the hearing of the jury.

        Just like anything else said by an attorney, objections are not considered evidence. You

may not treat as evidence anything said by an attorney during an objection.

        If I have allowed testimony or evidence that an attorney objected to, you should not give

that evidence greater or lesser weight. My rulings on objections have nothing to do with the

credibility of the witnesses.

        If I have sustained an objection to a question asked of a witness, you must disregard the

question entirely, and may draw no inference from the question, nor speculate about what the

witness would have said if he or she had been permitted to answer the question. You must

disregard any testimony that I have stricken, because it is not evidence.




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   E. Duties of the Jury

       It is your duty to find the facts from all the evidence in the case. In reaching a verdict you

must carefully and impartially consider all of the evidence in the case and then apply the law as I

have explained it to you. Regardless of any opinion you may have about what the law is or ought

to be, it would be a violation of your sworn duty to base a verdict upon any understanding or

interpretation of the law other than the one I give you. And you must do your duty as jurors

regardless of any personal likes, dislikes, opinions, prejudices, or sympathies. In other words,

you must decide the case solely on the evidence before you, and you must do so fairly and

impartially.

       The verdict you reach must be unanimous; that is, agreed upon by each of you.

       You must each decide for yourself whether the government has proven each element of a

particular charge beyond a reasonable doubt, but do so only after impartial consideration of the

evidence in the case with your fellow jurors.


   F. Outside Information

       I have previously instructed you to avoid reading or listening to any news coverage or

conducting any internet research about this case. If any media reports or internet accounts have

come to your attention, you must lay them aside and completely disregard them. Similarly, if

anyone has spoken to you about this case, you must ignore their comments. What you have read

or heard about the case, the defendant, or the attorneys outside this courtroom is not evidence in

this case. Indeed, it would be unfair to consider such reports because they are not evidence and

the parties have no opportunity to contradict their accuracy or otherwise explain them. It would

be a violation of your oath as jurors to allow anything you may have read or heard outside of this




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courtroom to influence your judgment in arriving at a true verdict in this case. Your verdict must

be based solely on the evidence presented in court, and in accordance with these instructions.


    G. Government Treated Like Any Other Party

        You are to perform the duty of finding the facts without bias or prejudice for or against

any party. You are to perform your final duty in an attitude of complete fairness and impartiality.

        The fact that the prosecution is brought in the name of the United States entitles the

government to no greater consideration than that accorded to any other party. By the same token,

it is entitled to no less consideration. All parties, whether government or individuals, stand as

equals in a court of justice.


    H. Burden of Proof and Presumption of Innocence

        At the beginning of the case, I gave you some general rules about criminal trials. I will

now restate them for you in more detail. There are three basic rules:


        1. Presumption of Innocence

        Mr. Manzano has pleaded not guilty to the charges against him. As a result of his plea of

not guilty, the burden is on the government to prove guilt beyond a reasonable doubt. The burden

never shifts to the defendant for the simple reason that the law never imposes on a defendant in a

criminal case the burden of calling any witness or producing any evidence. A defendant is not

even obligated to cross-examine the witnesses for the government.

        The law presumes Mr. Manzano to be innocent of all the charges against him. I therefore

instructed you that you were to presume him to be innocent throughout the trial and until such

time, if ever, you as a jury determine that the government has proven Mr. Manzano guilty of a

crime beyond a reasonable doubt. That presumption was with Mr. Manzano when the trial began


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and remains with him even now as I speak to you, and will continue with him into your

deliberations unless and until you are convinced that the government has proven him guilty

beyond a reasonable doubt. The presumption of innocence alone is sufficient to acquit Mr.

Manzano; if the government’s evidence is not sufficient on a particular charge, he must be

acquitted regardless of whether he has presented evidence in defense of that charge.


        2. Burden of Proof on the Government

        The second rule in a criminal case is that the burden of proving guilt is on the

government. The government has that burden throughout the trial. Mr. Manzano never has any

burden to prove his innocence, to produce any evidence at all, or to testify.

        The burden of proof on the government in a criminal case is different from the burden of

proof on a plaintiff in a civil case. In a civil case, the plaintiff need only prove his case by what is

called the “preponderance of the evidence.” That means that the plaintiff in a civil case must

have better evidence than the defendant in that civil case has. It is not enough in a criminal case,

however, for the government simply to have better evidence than the defendant. In a criminal

case, the government must prove each element of each crime charged beyond a reasonable doubt.


        3. Proof Beyond a Reasonable Doubt

        I have said that the burden is on the government to prove that Mr. Manzano is guilty

beyond a reasonable doubt. A natural question is: what is a reasonable doubt? The words almost

define themselves. A reasonable doubt is a doubt based upon reason and common sense. It is a

doubt that a reasonable person has after carefully weighing all the evidence. It is a doubt that

would cause a reasonable person to hesitate to act in a matter of importance in his or her personal

life. Proof beyond a reasonable doubt must, therefore, be proof of such a convincing character



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that a reasonable person would not hesitate to rely and act upon it in the most important of his or

her own affairs.

       A reasonable doubt is not a caprice or whim; it is not a speculation or suspicion. It is not

an excuse to avoid the performance of an unpleasant duty. And it is not sympathy. But the

government is not required to prove guilt beyond all possible doubt. After all, it is virtually

impossible for a person to be absolutely and completely convinced of any contested fact that by

its nature is not subject to mathematical proof and certainty. The test is one of reasonable doubt.

       The absence of evidence is a valid basis for reasonable doubt. The mosaic of evidence

that composes the record before you includes both the evidence and the lack of evidence on

material matters. An absence of evidence, or the absence of sufficient evidence, may provide the

reasonable doubt upon which a jury decides to find a defendant not guilty.

       In order for the government to prove that a defendant is guilty of a particular offense

charged, it must prove all elements of the offense beyond a reasonable doubt. The burden of

proof never shifts to a defendant, which means that it is always the government’s burden to

prove each of the elements of the crimes charged beyond a reasonable doubt.

       If, after fair and impartial consideration of all the evidence against Mr. Manzano on a

particular count, you have a reasonable doubt regarding Mr. Manzano’s guilt on that count, it is

your duty to acquit him of that count. On the other hand, if after fair and impartial consideration

of all the evidence on a particular count you are satisfied of Mr. Manzano’s guilt beyond a

reasonable doubt on that count, you should vote to convict him on that count. You must make

this determination for each count separately.




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   I. “Prove,” “Find,” and “Establish”

       Throughout the remainder of my instructions to you, I will use the word “prove” when

talking about what the government must do in order to sustain its burden in this case. My use of

the word “prove” means “prove beyond a reasonable doubt,” even if I do not always repeat those

words. Similarly, when I speak of your “finding” various facts or the government “establishing”

various facts, you must determine whether those facts have been proven beyond a reasonable

doubt, even if I simply use the word “find” or “establish.”


   J. “Offense,” “Charge,” and “Count”

       Throughout the remainder of my instructions to you, I will use the word “count,”

“charge,” or “offense” when referring to the two charges the government has brought against Mr.

Manzano. For the purposes of these instructions, those words all have the same meaning.




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II.      SECTION II: ISSUES IN THIS CASE

      A. Charges Are Not Evidence

         With those general instructions in mind, I am now going to discuss the specific charges

brought against Yehudi Manzano. A charge is merely an accusation; it is not evidence. The fact

that Mr. Manzano has been accused of committing an offense and is on trial may not be treated

by you as any evidence of his guilt.

         The government alleges in this case that the defendant, Yehudi Manzano, committed

produced and transported child pornography. The government alleges that on or about August

21, 2016, Mr. Manzano produced a child pornography video depicting M.M., who was under the

age of eighteen, engaged in sexually explicit conduct. The government further alleges that Mr.

Manzano transported the child pornography by uploading that video to his Google account.

         You must decide whether the government has proven each of the elements of the charges

beyond a reasonable doubt.


      B. Multiple Counts

         Mr. Manzano has been charged with two offenses. The number of charges is not evidence

of guilt, and should not influence your decision in any way. You must consider each count

separately and return a separate verdict of not guilty or guilty for each count.

         In Section III, I will instruct you on the legal principles that apply to each count. For

now, I will provide you an overview of each count. In Count One, the government alleges that

Mr. Manzano produced child pornography. In Count Two, the government alleges that Mr.

Manzano transported child pornography.




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   C. Definition of “Knowingly” and “Intentionally”

       Before I instruct you on the elements of the offenses, I want to give you one last

preliminary instruction. At times in these instructions, I will use the terms “knowingly” and

“intentionally.” I will define them for you now, and whenever those words appear in these

instructions, you should associate them with the following definitions in addition to any further

instructed definitions:

       “Knowingly”: A person acts knowingly if he or she acts intentionally and voluntarily, and

not because of ignorance, mistake, accident or carelessness. Whether a defendant acted

knowingly may be proven by the defendant’s conduct and by all of the facts and circumstances

surrounding his conduct.

        “Intentionally”: A person acts intentionally when he or she acts deliberately and

purposefully. The act must have been the product of his or her conscious objective rather than a

product of a mistake or accident.


   D. “On or About”

       The government alleges that the offenses were committed on or about certain dates. The

government does not have to prove that a crime was committed on the exact date alleged so long

as the government proves beyond a reasonable doubt that that the crime was committed on a date

reasonably near the one charged.




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III.      SECTION III: ELEMENTS OF THE CHARGED OFFENSES

       A. Count One – Production of Child Pornography1

          Mr. Manzano is charged in Count One of the Indictment with production of child

pornography. The government alleges that Mr. Manzano used a mobile phone to produce the

video file titled “20160821_022439.mp4” depicting M.M., who was under 18 years of age,

engaged in sexually explicit conduct with Mr. Manzano. The relevant statute is Title 18, United

States Code, Section 2251(a) which provides, in relevant part, that a person is guilty of

production of child pornography if he:

          employs, uses, persuades, induces, entices, or coerces any minor to engage in . . . any
          sexually explicit conduct for the purpose of producing any visual depiction of such
          conduct . . . if such person knows or has reason to know that such visual depiction will be
          transported or transmitted using any means or facility of interstate or foreign commerce
          or in or affecting interstate or foreign commerce or mailed, if that visual depiction was
          produced or transmitted using materials that have been mailed, shipped, or transported in
          or affecting interstate or foreign commerce by any means, including by computer, or if
          such visual depiction has actually been transported or transmitted using any means or
          facility of interstate or foreign commerce or in or affecting interstate or foreign
          commerce or mailed.

          For you to find Mr. Manzano guilty of this charged offense, you must be convinced that

the government has proven each of the following three elements beyond a reasonable doubt:

          First, that the video depicted M.M. and that M.M. was under the age of eighteen at the

time of the acts alleged in Count One.

          Second, that Mr. Manzano used or employed or persuaded or induced or enticed or

coerced M.M. to take part in sexually explicit conduct for the purpose of producing a visual

depiction of that conduct; and




1
  Adapted from Sand, Instructions 62-1 and 62-2; United States v. Broxmeyer, 616 F.3d 120, 124 (2d Cir. 2010)
(listing the elements of the offense).


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        Third, that (a) Mr. Manzano knew or had reason to know that the visual depiction would

be transported or transmitted using any means or facility of interstate or foreign commerce or in

or affecting interstate or foreign commerce, or mailed; or (b) the visual depiction was produced

or transmitted using materials that were mailed, shipped, or transported in or affecting interstate

or foreign commerce by any means, including by computer; or (c) the visual depiction was

actually transported or transmitted using any means or facility of interstate or foreign commerce

or in or affecting interstate or foreign commerce or mailed.


        1. First Element – Age of Minor 2

        The first element that the government must prove beyond a reasonable doubt for Count

One is that the video depicted M.M. and that M.M. was under the age of eighteen years at the

time of the acts alleged in this count.

        The government does not have to prove that the defendant knew that M.M. was less than

eighteen years old.


        2. Second Element - Use of Minor in Sexually Explicit Conduct 3

        The second element that the government must prove beyond a reasonable doubt for

Count One is that Mr. Manzano used or employed or persuaded or induced or enticed or coerced

M.M. to take part in sexually explicit conduct for the purpose of producing or transmitting a

visual depiction of that conduct.


2
 Adapted from Sand, Instructions 62-3; 18 U.S.C. § 2256(1) (defining “minor” as “any person under the age of
eighteen years.”); see United States v. X-Citement Video, Inc., 513 U.S. 64, 77 n.5 (1994) (“[P]roducers may be
convicted under § 2251(a) without proof they had knowledge of age”); United States v. Griffith, 284 F.3d 338, 349
(2d Cir. 2002) (“The Supreme Court has concluded that § 2251 does not contain a knowledge of age requirement.”).
3
 Adapted from Sand, Instructions 62-5 and 62-7; 18 U.S.C. § 2256(2) (defining “sexually explicit conduct”); 18
U.S.C. § 2256(5) (defining “visual depiction”);




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         The “use” of a minor is satisfied if you find that the minor was filmed engaging in

sexually explicit conduct. 4

         Sexually explicit conduct” means actual or simulated sexual intercourse, including

genital-genital, oral-genital, anal-genital, or oral-anal, whether between persons of the same or

opposite sex; bestiality; masturbation; sadistic or masochistic abuse; or lascivious exhibition of

the genitals or pubic area of any person.

         A “visual depiction” includes any photograph, film, video, or picture, including

undeveloped film and videotape, and data stored on a computer disk or by electronic means that

is capable of conversion into a visual image.

         In deciding whether the government has proven that the defendant acted for the purpose

of producing or transmitting a visual depiction of the sexually explicit conduct, you may

consider all of the evidence concerning the defendant’s conduct.

         The government need not prove that producing the video was Mr. Manzano’s sole or only

purpose for engaging in the sexual activity. 5




4
  See United States v. Sirois, 87 F.3d 34, 41 (2d Cir. 1996) (stating that the “use” element “is fully satisfied ... if a
child is photographed in order to create pornography”); United States v. Fadl, 498 F.3d 862, 866 (8th Cir.2007)
(same); United States v. Wright, 774 F.3d 1085, 1089 (6th Cir. 2014) (same); Ortiz–Graulau v. United States, 756
F.3d 12, 18–19 (1st Cir.2014) (holding that “the statutory definition of ‘use’ is met when a defendant makes a minor
the subject of a visual depiction by intentionally photographing the minor engaging in sexually explicit conduct”).

5
  See United States v. Raplinger, 555 F.3d 687, 693 (8th Cir. 2009) (“The government need not prove that producing
the photographs was [defendant’s] sole purpose for engaging in the sexual activity (citing United States v. Sirois, 87
F.3d 34, 39 (2d Cir.1996)); United States v. Fifer, 863 F.3d 759, 768 (7th Cir. 2017) (“Nothing in the statute
requires that the production of such a depiction be the defendant’s only purpose.”) cert. denied, 138 S. Ct. 1262, 200
L. Ed. 2d 420 (2018).




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         It is not an element of this crime that the defendant acted with a commercial motive.

Thus, it is not a defense that the visual depiction of M.M. engaging in sexual conduct was for the

Mr. Manzano’s personal use rather than commercial distribution. 6

         Finally, it is not relevant whether or not M.M. was a willing participant in or consented to

the sexually explicit conduct. The consent or voluntary participation of the minor is not a defense

to this charge. 7


         3. Third Element – Effect on Interstate Commerce 8

         The third element that the government must prove beyond a reasonable doubt is that the

Mr. Manzano (a) knew or had reason to know that the visual depiction would be transported or

transmitted using any means or facility of interstate or foreign commerce or in or affecting

interstate or foreign commerce; or (b) the visual depiction was produced or transmitted using

materials that were mailed, shipped, or transported in or affecting interstate or foreign commerce

by any means, including by computer; or (c) the visual depiction was actually transported or

transmitted using any means or facility of interstate or foreign commerce or in or affecting

interstate or foreign commerce.


6
  See United States v. Sirois, 87 F.3d 34, 40 (2d Cir. 1996) (“we hold that the interstate nexus of § 2251(a) does not
require a commercial purpose.”); see also Sand, Instruction 62-5, Commentary (“There is no requirement that the
defendant have a commercial purpose for producing the visual depiction.”)

7
  See United States v. Sibley, No. 15-4232, 2017 WL 900112, at *4 (6th Cir. Mar. 7, 2017) (minor victim’s consent
irrelevant to whether defendant violated § 2251(a)); United States v. Raplinger, 555 F.3d 687, 692 (8th Cir. 2009)
(“the district court was correct as a matter of law that consent is not a defense to the crimes charged[.]”); United
States v. Griffith, No. 99CR786(HB), 2000 WL 1253265, at *18 (S.D.N.Y. Sept. 5, 2000) (“[18 U.S.C. § 2251] by
its plain terms eliminates consent as a defense.”); see also Sand, Instruction 62-5, Commentary (“The consent of the
minor is obviously not a defense, and an instruction to that effect may be appropriate when issues concerning the
minor’s voluntary participation are raised.”)

8
  Adapted from Sand, Instruction 62-9; see United States v. Skvarla, 673 F. App’x 111, 114 (2d Cir. 2016)
(downloading pornography from Internet involved transportation of child pornography in interstate commerce);
United States v. Konn, 634 F. App’x 818 (2d Cir. 2015) (citing Effective Child Pornography Prosecution Act of
2007 (“2008 Amendments”), Pub. L. No. 110-358, § 102(7), 122 Stat. 4001, 4002 (2008) (“The transmission of
child pornography using the Internet constitutes transportation in interstate commerce.”)).


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           “Interstate or foreign commerce” means simply movement between one state and another

or between the United States and a foreign country. Transmission of photographs or video by

means of the Internet constitutes transportation in interstate commerce. However, you must find

beyond a reasonable doubt that the specific depiction in question was actually transmitted by

means of the Internet

           A cellular or mobile phone can constitute a “means or facility” of interstate or foreign

commerce. 9

           I will now instruct you on each one of these three methods of proof.


               a. Knowledge or Reason to Know of interstate Transportation or Transmission 10

           To prove that the defendant knew or had reason to know that the visual depiction would

be transported or transmitted using any means or facility of interstate or foreign commerce or in

or affecting interstate or foreign commerce, the government must establish that Mr. Manzano

knew and intended that the visual depiction would be transported or transmitted in interstate or

foreign commerce or that Mr. Manzano had reason to know that this transportation or

transmission would occur because it was reasonably foreseeable that his activities would result in

the depiction’s transportation or transmission in or affecting interstate or foreign commerce. For

this method of proof, the government does not have to prove that the depiction was actually

mailed or moved in interstate or foreign commerce.




9
 See United States v. Giordano, 442 F.3d 30, 39–41 (2d Cir. 2006) (holding that the intrastate use of a cell phone
constitutes the use of “a facility in interstate commerce”); United States v. Crumble, No. 18-CR-32 (ARR), 2018
WL 3112041, at *2 (E.D.N.Y. June 25, 2018).

10
     Adapted from Sand, Instruction 62-9.


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               b. Production or Transmittal Using Materials Previously Moved In Interstate or
                  Foreign Commerce 11

           The second method of proof of this element is that the visual depiction was produced or

transmitted using materials that were mailed, shipped, or transported in or affecting interstate or

foreign commerce by any means, including by computer. Simply stated, the phrase “transported

in interstate or foreign commerce” means that the materials used to produce the visual depiction

had previously moved from one state to another or between the United States and another

country. Here, the government alleges that the Samsung Galaxy phone or its components used to

take the video were not manufactured in Connecticut. I instruct that if you find that the Samsung

phone or its components used to take the video were manufactured outside of Connecticut, that is

sufficient to satisfy this element. The government does not have to prove that Mr. Manzano

personally transported the materials across a state or international line, or that Mr. Manzano

knew that the cellular phone or its components had previously crossed a state or international

line.


               c. Visual Depiction Actually Transported or Transmitted Using Facility of or In or
                  Affecting Interstate or Foreign Commerce 12

           The third method of proof of this element is that the visual depiction was actually

transported or transmitted using any means or facility of interstate or foreign commerce or in or

affecting interstate or foreign commerce. The government must prove that the visual depiction

crossed between one state and another or between the United States and a foreign country.

Transmission of photographs or video by means of the Internet constitutes transportation in



11
     Adapted from Sand, Instruction 62-10.

12
     Adapted from Sand, Instruction 62-8.


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interstate or foreign commerce. However, you must find beyond a reasonable doubt that the

specific depiction in question was actually transmitted by means of the Internet.

           I have just described three methods that the government may use to satisfy this third

element. You do not have to find that the government proved all three methods for this third

element. You only need to find that the government proved any one of the three methods.


       B. Count Two – Transportation of Child Pornography 13

           In Count Two, the government alleges that Mr. Manzano transported child pornography

by saving the video file titled “20160821_022439.mp4” in his Google account . The relevant

statute is Title 18, United States Code, Section 2252A(1) which provides, in relevant part, that a

person is guilty of transportation of child pornography if he:

           knowingly . . . transports . . . using any means or facility of interstate or foreign
           commerce or in or affecting interstate or foreign commerce by any means, including by
           computer, any child pornography.

           In order to prove that Mr. Manzano transported child pornography, as charged in Count

Two, the government must prove each of the following four elements beyond a reasonable

doubt:

           First, that the defendant knowingly transported a visual depiction, as I have already

defined that term to you.




13
     Adapted from Sand, Instructions 62-25 and 62-26.


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           Second, that the visual depiction was transported using any means or facility of interstate

or foreign commerce or in or affecting interstate or foreign commerce by any means, including

by computer;

           Third, that the visual depiction was child pornography, as I will define that term; and

           Fourth, that the defendant knew of the sexually explicit nature of the material and that the

visual depiction was of an actual minor engaged in that sexually explicit conduct.


           1. First Element – Transporting 14

           The first element that the government must prove beyond a reasonable doubt is that the

defendant knowingly transported a visual depiction in interstate or foreign commerce.

           I have already defined the term “visual depiction” for you and the same definition applies

here.

           I have also previously instructed you on the term “knowingly” and that instruction

applies here.

           It is not necessary for the government to show that Mr. Manzano personally transported

the depiction. It is sufficient if the government proves that he knowingly caused the interstate

transportation to take place.




14
     Adapted from Sand, Instruction 62-27.


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           2. Second Element – Effect of Interstate Commerce 15

           The second element that the government must prove beyond a reasonable doubt is that

the child pornography was actually transported using any means or facility of interstate or

foreign commerce or in or affecting interstate or foreign commerce.

           This means that the government must prove that the child pornography crossed between

one state and another or between the United States and a foreign country. Transmission of video

by means of the Internet constitutes transportation in interstate commerce. However, you must

find beyond a reasonable doubt that the specific depiction in question was actually transmitted by

means of the Internet.


           3. Third Element – Visual Depiction was Child Pornography 16

           The third element that the government must prove beyond a reasonable doubt is that the

visual depiction was child pornography.

           Child pornography means any visual depiction the production of which involved the use

of a minor engaging in sexually explicit conduct, as I have already defined that term to you, and

that portrays that minor engaged in that conduct.

           The visual depiction must be of a real person under the age of eighteen engaging in

sexually explicit conduct. The government does not have to prove the identity of the minor or the

exact age of the minor. You may consider all of the evidence, including your viewing of the

depiction, in determining whether the depiction portrayed an actual person under the age of

eighteen engaging in sexually explicit conduct.




15
     Adapted from Sand, Instruction 62-33.

16
     Adapted from Sand, Instruction 62-36.


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           4. Fourth Element – Defendant Acted Knowingly 17

           The fourth element that the government must prove beyond a reasonable doubt is that the

defendant knew that the material he possessed was child pornography.

           As I stated before, an act is done knowingly when it is done voluntarily and intentionally

and not because of accident, mistake or some other innocent reason.

           In this case, the term “knowingly” refers to an awareness of the sexually explicit nature

of the material, and to the knowledge that the visual depiction was in fact of an actual minor

engaged in that sexually explicit conduct.

           The government must show that the defendant had knowledge of the general nature of the

contents of the material. The defendant need not have specific knowledge as to the identity or

actual age of the underage performer. The defendant must have knowledge or an awareness that

the material contained a visual depiction of a minor engaging in sexually explicit conduct. Such

knowledge may be shown by direct or circumstantial evidence, or both. Eyewitness testimony of

the defendant’s viewing of the material is not necessary to prove his awareness of its contents;

the circumstances may warrant an inference that he was aware of what the material depicts.

Furthermore, the defendant’s belief as to the legality or illegality of the material is irrelevant.




17
     Adapted from Sand, Instruction 62-36.


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   C. Closing Instructions for Charged Offenses

       If you, the jury, find beyond a reasonable doubt from the evidence in the case that the

government has proved each of the foregoing elements for a particular count, then proof of the

charged crime is complete and you should find Mr. Manzano guilty on that count. If, on the

other hand, you have a reasonable doubt about any of the elements of a particular count, then it is

your duty to find Mr. Manzano not guilty on that count. Remember to evaluate the evidence

with respect to each count separately. It is possible for Mr. Manzano to be found guilty of one

count while being found not guilty on the other count. I have prepared a Verdict Form that

contains questions that will assist you in this process.




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IV.      INSTRUCTIONS FOR DELIBERATIONS

         Now that I have gone over the elements of the offenses charged in this case, I will

provide additional instructions that will guide you in your deliberations.


      A. Evidence

         1. Three Forms of Evidence

         Next I want to discuss with you generally what we mean by evidence and how you

should consider it. The evidence from which you are to decide what the facts are comes in one of

three forms:

         First, there is the sworn testimony of witnesses, both on direct examination and cross-

examination, and regardless of who called the witness.

         Second, there are the exhibits that have been received into the trial record. When you

return to the jury room, you will have access to the exhibits that have been admitted into

evidence.

         Third, there are any facts to which all the lawyers have agreed or stipulated.


         2. What Is and What Is Not Evidence

         The evidence in this case is the sworn testimony of the witnesses, the exhibits received in

evidence, and the stipulations agreed to by the parties.

         Questions are not evidence; answers are. At times, a lawyer may have incorporated into a

question a statement that assumed certain facts to be true, and asked the witness if the statement

was true. If the witness denied the truth of a statement, and if there is no evidence in the record

proving that assumed fact to be true, then you may not consider it to be true simply because it

was contained in the lawyer’s question.

         Similarly, during the course of trial, I may have occasionally asked questions of a witness

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in order to clarify testimony, avoid misunderstandings, or to bring out facts not then fully

covered in the testimony. Like the questions of counsel, my questions are not evidence and may

not be considered by you as such. Do not assume that I hold any opinion on the subject of my

questions.

       Testimony that has been stricken or excluded by the court also is not evidence and may

not be considered by you in rendering your verdict.

       What the lawyers say in their opening statements, closing arguments, comments,

objections, and questions is not evidence. What they say in their closing arguments is intended to

help you understand the evidence and to reach your verdict. If your recollection of the facts

differs from the lawyers’ statements, however, you should rely on your memory.

       Moreover, what I may have said during the trial or what I may say in these instructions is

not evidence and my rulings on the admissibility of evidence do not indicate any opinion about

the weight or effect of such evidence. Exhibits that have been marked for identification may not

be considered by you as evidence unless and until they have been received into evidence by the

court. Exhibits were received into evidence when I said that an exhibit was admitted as a “full”

exhibit.

       In addition, materials used only to refresh a witness’s recollection or to demonstrate or

help explain testimony are not evidence unless they are admitted as full exhibits.

       It is for you alone to decide the weight, if any, to be given to the testimony you have

heard and to the exhibits you have seen.


       3. Direct and Circumstantial Evidence

       There are two types of evidence that you may properly use in reaching your verdict.

       One type of evidence is direct evidence. Direct evidence includes a witness’s testimony


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about something the witness knows by virtue of his or her own senses—something he or she has

seen, felt, touched, heard, or done.

       Circumstantial evidence is evidence that tends to prove a disputed fact by proof of other

facts. For example, assume that when you came into the courthouse this morning the sun was

shining and it was a nice day. Assume that, because there are no windows in this courtroom, you

could not look outside. As you were sitting here, someone walked in with an umbrella that was

dripping wet. Then a few minutes later another person also entered with a wet umbrella. Now,

you cannot look outside of the courtroom and you cannot see whether or not it is raining. So you

have no direct evidence of that fact. But on the combination of facts that I have asked you to

assume, it would be reasonable and logical for you to conclude that it had been raining.

       That is all there is to circumstantial evidence. On the basis of your reason, experience,

and common sense, you infer from one established fact the existence or non-existence of some

other fact. Circumstantial evidence is of no less value than direct evidence. It is a general rule

that the law makes no distinction between direct and circumstantial evidence, but simply requires

that the jury cannot convict a defendant unless it is satisfied of that defendant’s guilt beyond a

reasonable doubt based on all the evidence presented. Circumstantial evidence, however, does

not include guesswork or conjecture. Circumstantial evidence consists only of the reasonable and

logical inferences that you draw from other evidence in the record.


       4. Definition of “Inference”

       During the trial you may have heard the attorneys use the term “inference” and in their

arguments they may ask you to infer, on the basis of your reason, experience, and common

sense, from one or more facts in evidence, the existence of some other fact.

       An inference is not a suspicion or a guess. It is a reasoned, logical conclusion that a


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disputed fact exists because another fact has been shown to exist.

       There are times when different inferences may be drawn from the same facts, whether

proved by direct or circumstantial evidence. The government may ask you to draw one set of

inferences, while the defendant may ask you to draw another. It is for you, and you alone, to

decide what inferences you will draw.

       The process of drawing inferences from facts in evidence is not a matter of guesswork or

speculation. An inference is a conclusion that you are permitted, but not required, to draw from

the facts that have been established by either direct or circumstantial evidence. In drawing

inferences, you should exercise your common sense. Finally, you may not draw any inferences

from the mere fact that a defendant has been charged with a crime.

       So, while you are considering the evidence in this case, you are permitted to draw any

reasonable inferences from the facts that are justified in light of your reason, experience, and

common sense.

       Here again, let me remind you that, whether based on direct or circumstantial evidence,

or upon the logical, reasonable inferences drawn from such evidence, you must be satisfied of

the guilt of a defendant beyond a reasonable doubt before you may convict him.


       5. Stipulation of Fact [If applicable]

       The evidence in this case includes facts to which the lawyers have agreed or stipulated. A

stipulation means simply that the government and the defendant accept the truth of a particular

proposition or fact. Because there is no disagreement, there is no need for evidence apart from

the stipulation. You must accept the stipulation as fact, but you may give it whatever weight you

choose.




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           6. Stipulation of Testimony [If applicable] 18

           A stipulation of testimony is an agreement among the parties that, if called, a witness

would have given certain testimony. You must accept as true the fact that the witness would have

given that testimony in court. However, it is for you to determine the effect to be given that

testimony.


       B. Witnesses

           1. Defendant’s Right Not to Testify [If applicable]

           Under our Constitution, a defendant has no obligation to testify, because it is the

government’s burden to prove the defendant guilty beyond a reasonable doubt. That burden

remains with the government throughout the entire trial and never shifts to a defendant. A

defendant is never required to prove that he is innocent.

           There are many complex reasons why a defendant may choose not to testify or present

any evidence, including the advice of his lawyer. You may not attach any significance to the fact

that Mr. Manzano did not testify in this case. You may not draw any inference from that decision

or consider it in any way in your deliberations in the jury room.


           2. Defendant’s Testimony [If applicable]

           Under our Constitution, a defendant has no obligation to testify, because it is the

government’s burden to prove the defendant guilty beyond a reasonable doubt. That burden

remains with the government throughout the entire trial and never shifts to a defendant. A

defendant is never required to prove that he is innocent. However, if a defendant chooses to

testify, he is, of course, permitted to do so.



18
     Sand, Instruction 5-7.


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       In this case, Mr. Manzano testified. You should examine and evaluate his testimony just

as you would the testimony of any witness. You should not disregard or disbelieve his testimony

simply because he is charged as a defendant in the case.


       3. Witness Credibility—Generally

       You have had the opportunity to observe all of the witnesses. It is now your job to decide

how believable each witness was in his or her testimony. You are the sole judges of the

credibility of each witness and of the importance of his or her testimony.

       In making those judgments, you should carefully scrutinize all of the testimony of each

witness, the circumstances under which each witness testified, and any other matter in evidence

that may help you decide the truth and the importance of each witness’s testimony.

       How do you determine truthfulness? You should use all the tests for truthfulness that you

would use in determining matters of credibility in your everyday lives. You base it on what you

have seen and heard. You watched the witness testify. Everything a witness said or did on the

witness stand counts in your determination. How did the witness impress you? Was he or she

frank, forthright and candid, or evasive and edgy as if hiding something? How did the witness

appear; what was his or her demeanor—that is, their behavior, manner and appearance—while

testifying? Often it is not what a person says but how he or she says it that convinces us.

       You should also consider the opportunity the witness had to see, hear, and know the

things about which he or she testified, the accuracy of the witness’s memory, candor or lack of

candor, intelligence, the reasonableness and probability of the witness’s testimony, its

consistency or lack of consistency, and its corroboration or lack of corroboration with other

evidence.

       Always remember that in assessing a witness’s testimony you should use your common


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sense, your good judgment, and your own life experiences.


       4. Impeachment of a Witness

       A witness may be discredited or “impeached” by contradictory evidence, by a showing

that the witness testified falsely concerning a material matter, or by evidence that at some other

time the witness said or did something inconsistent with the witness’s present testimony. It is

your exclusive province to give the testimony of each witness such credibility or weight, if any,

as you think it deserves.

       You may have heard evidence that a witness made a statement on an earlier occasion that

counsel argues is inconsistent with the witness’s trial testimony. Evidence of a prior inconsistent

statement may only be considered for the purpose of helping you decide whether to believe the

trial testimony of the witness who contradicted himself or herself. The earlier inconsistent or

contradictory statement may be used only to discredit or impeach the credibility of the witness; it

may not be used to establish the truth of those earlier statements, unless the statement was

admitted into evidence.

       If you decide a witness testified untruthfully in some respect, you may consider that fact

in deciding the credibility you will give to that witness’s testimony. In making that

determination, you may consider whether the witness purposely made a false statement or

whether it was an innocent mistake; whether the inconsistency concerns an important fact, or

whether it had to do with a small detail; whether the witness had an explanation for the

inconsistency, and whether that explanation appealed to your common sense. Considering those

factors and all other relevant evidence, you may accept or reject the testimony of each witness

either in whole or in part.




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           5. Prior Felony Conviction [If applicable]

           You have also heard the testimony of a defense witness who was previously convicted of

a crime, punishable by more than a year in jail, or involving dishonesty. Prior convictions were

put into evidence for you to consider in evaluating the witness’ credibility. You may consider the

fact that the witness who testified is a convicted felon in deciding how much of his testimony to

accept and what weight, if any, it should be given.


           6. Interest in Outcome

           In evaluating credibility of the witnesses, you should take into account any evidence that

the witness who testified may benefit in some way from or has any other interest in the outcome

of this case. Such an interest in the outcome creates a motive to testify falsely and may sway the

witness to testify in a way that advances his or her own interests. Therefore, if you find that any

witness whose testimony you are considering may have an interest in the outcome of this trial,

then you should bear that in mind when evaluating the credibility of his or her testimony and

evaluate it with great care.

           That is not to suggest that every witness who has an interest in the outcome of a case will

testify falsely. It is for you to decide to what extent, if at all, a witness’s interest has affected or

colored his or her testimony.


           7. Opinion of Defendant’s Character [If applicable] 19

           The defendant has called witnesses who have given their opinion of his good character.

This testimony is not to be taken by you as the witness’ opinion as to whether the defendant is

guilty or not guilty. That question is for you alone to determine. You should, however, consider




19
     Sand, Instruction 5-15.

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this character evidence together with all the other facts and all the other evidence in the case in

determining whether the defendant is guilty or not guilty of the charges.

        Accordingly, if after considering all the evidence including testimony about the

defendant’s good character, you find a reasonable doubt has been created, you must acquit him

of all the charges.

        On the other hand, if after considering all the evidence including that of defendant’s

character, you are satisfied beyond a reasonable doubt that the defendant is guilty, you should

not acquit the defendant merely because you believe him to be a person of good character.


        8. Law Enforcement Witnesses

        You have heard testimony from law enforcement officers and government agents in this

case. The testimony of a law enforcement witness is entitled to no greater or lesser weight than

any other witness. An officer who takes the witness stand subjects his or her testimony to the

same examination and the same tests that any other witness does. It is entirely legitimate for

defense counsel to try to attack the credibility of a law enforcement witness on the grounds that

his or her testimony may be colored by a personal or professional interest in the outcome of the

case. In the case of a law enforcement witness, you should not believe or disbelieve him or her

merely because he or she is employed in law enforcement. You should recall his or her demeanor

on the stand, his or her manner of testifying, and the substance of his or her testimony, and you

should weigh and balance it just as carefully as you would the testimony of any other witness.

        People employed in law enforcement do not stand in any higher or lower station in the

community than other persons, and their testimony is not entitled to any greater or lesser weight

due to the nature of their employment.




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       9. Expert Witnesses [If applicable]

       You have heard testimony from an expert witness in this case. An expert is allowed to

express an opinion on those matters about which he or she has special knowledge and training.

Expert testimony is presented to you on the theory that someone who is knowledgeable and

experienced in the field can assist you in understanding the evidence or in reaching an

independent decision on the facts.

       In weighing an expert’s testimony, you may consider the expert’s qualifications,

opinions, reasons for testifying, as well as all of the other considerations that ordinarily apply

when you are deciding whether or not to believe a witness’s testimony. Has the expert witness

provided you with a rational and reasonable basis supporting the opinions the expert offers?

When the expert undertakes to support an opinion by relating it to some basis in fact, is the basis

brought forth in support of that particular opinion reasonable and logical, and in your minds, a

sound basis? You may give the expert testimony whatever weight, if any, you find it deserves in

light of all the evidence in this case. You should not, however, accept an expert witness’s

testimony merely because he or she is an expert. Nor should you substitute it for your own

reason, judgment, and common sense. The determination of the facts in this case rests solely with

you.


       10. Uncalled Witness Equally Available or Unavailable

       You should not decide this case based on the number of witnesses and exhibits presented

by a party. You do not have to accept the testimony of any witness, even a witness who has not

been contradicted or impeached, if you find the witness not to be credible.

       There may have been persons whose names you have heard during the course of the trial

but who did not appear here to testify. I instruct you that each party had an equal opportunity or


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lack of opportunity to call any of those witnesses. Therefore, you should not draw any

inferences or reach any conclusions about what they would have testified to had they been called.

Their absence should not affect your judgment in any way.

           You should, however, remember my instruction that the law does not impose on a

defendant in a criminal case the burden or duty of calling any witnesses or producing any

evidence.


       C. Uncontradicted Testimony

           You are not required to accept testimony even though the testimony is uncontradicted and

the witness is not discredited or impeached. You may decide, because of the witness’s manner

and demeanor, the improbability of his or her testimony, or other reasons, that such testimony is

not worthy of belief.

           On the other hand, the testimony of a single witness may be enough to convince you of a

fact in dispute, if you believe that the witness has truthfully and accurately related what in fact

occurred.


       D. Admissions of the Defendant 20

           There has been evidence that the defendant made certain statements in which the

government claims he admitted certain facts charged in the Indictment.

           In deciding what weight to give the defendant’s statements, you should first examine with

great care whether each statement was made and whether, in fact, it was voluntarily and

understandingly made. I instruct you that you are to give the statements such weight as you feel

they deserve in light of all the evidence.


20
     Sand, Instruction 5-19


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       E. Recordings and Transcripts 21

           During the trial, you watched and listed to a video recorded interview of the defendant by

a Waterbury Police Detective. This recorded interview has been received in evidence and was

played for you. Transcripts of portions of the recorded interview were furnished to you solely for

your convenience in assisting you in following the conversation or in identifying the speakers.

The transcripts were prepared by the government, and it contained the government’s

interpretation of the spoken words that appear in the recording.

           The recording itself is evidence in the case but the typewritten transcripts are not

evidence. What you hear on the recording is evidence. What you read on the transcript is not. If

you perceive any variation between the two, you will be guided solely by the recording and not

by the transcripts.

           If you cannot, for example, determine from the recording that particular words were

spoken or if you cannot determine from the tape recording who said a particular word or words,

you must disregard the transcripts insofar as those words or that speaker are concerned.


       F. Summary Charts (Admitted as Evidence) [If applicable]

           Charts or summaries that have been prepared by the United States have been admitted

into evidence, and have been shown to you during the trial for the purpose of explaining facts

that are allegedly contained in books, records or other documents that are in evidence in this

case. You may consider the charts or summaries admitted as full exhibits as you would any other

evidence admitted during this trial and give them such weight and importance, if any, as you feel

they deserve.



21
     Adapted from 1A Fed. Jury Prac. & Instr. § 14:09 (6th ed.)


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       G. Summary Charts (Not Admitted as Evidence) [If applicable] 22

           The United States has presented exhibits in the form of charts and summaries. These

charts and summaries were shown to you in order to make the other evidence more meaningful

and to aid you in considering the evidence. They are no better than the testimony or the

documents upon which they are based, and are not themselves independent evidence. Therefore,

you are to give no greater consideration to these schedules or summaries than you would give to

the evidence upon which they are based.

           It is for you to decide whether the charts, schedules or summaries correctly present the

information contained in the testimony and in the exhibits on which they were based. You are

entitled to consider the charts, schedules and summaries if you find that they are of assistance to

you in analyzing the evidence and understanding the evidence.


       H. Specific Investigative Techniques Not Required

           There is no legal requirement that the government use any specific investigative

techniques to prove its case. Law enforcement techniques are not your concern. Nor is it your

concern whether or why certain persons have or have not been called as witnesses.

           The law does not require calling as witnesses all persons who may have been involved in

the case, or who may appear to have some knowledge of the issues in this case. Nor does the law

require that all things mentioned during the course of the trial be produced as exhibits. Your

verdict must be based only on the evidence presented and the witnesses who testified. Your only

concern is to determine, based upon that evidence, whether or not a defendant has been proven

guilty beyond a reasonable doubt.



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     Sand, Instruction 5-13


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   I. The Jury Is Not to Consider Punishment

       The question of possible punishment that a defendant will receive if convicted is of no

concern to the jury and should not, in any way, enter into or influence your deliberations. The

duty of imposing a sentence rests exclusively upon the judge. Your function is to weigh the

evidence in the case and to determine whether or not Mr. Manzano is guilty beyond a reasonable

doubt of the crimes charged, solely upon the basis of such evidence. Under your oath as jurors,

you cannot allow a consideration of the punishment that may be imposed upon Mr. Manzano, if

convicted, to influence your verdict or enter into your deliberations.


   J. Deliberations

       I must add a few general instructions concerning your deliberations.


       1. Note Taking

       You were permitted to take notes during the course of the trial. Any notes you have taken

should be used only as memory aids; do not give your notes more importance than your

independent recollection of the evidence. If you did not take notes, you should rely on your own

memory of the proceedings and should not be unduly influenced by the notes of other jurors. The

fact that a particular juror has taken notes entitles that juror’s opinions to no greater weight than

those of any other juror, and your notes are not to be shown to any other juror during the course

of deliberations.


       2. Jury Bias

       Your verdict must be based solely upon the evidence developed at this trial, or the lack of

evidence. Please bear in mind that all parties are equal before the law. You should not, therefore,

consider any personal feelings you may have about the race, religion, national origin, sex, age,


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wealth, lifestyle, or other features of the parties.

        You have been chosen to try the issues of fact and reach a verdict on the basis of the

evidence presented here. If you let sympathy or prejudice interfere with your clear thinking about

the facts, there is a risk that you will not arrive at a just verdict.

        In reaching your verdict, you are not to be affected by sympathy for, or prejudice against,

any of the parties. You are not to be affected by what the reaction of the parties or the public to

your verdict may be, whether it will please or displease anyone, be popular or unpopular or,

indeed, any consideration outside the case as it has been presented to you in this courtroom.

Similarly, it would be wrong for you to allow feelings you might have about the nature of the

charges against the defendant to influence you in any way. Finally, each of the parties to this

case must be regarded as equals by you.

        If the jury has a reasonable doubt about Mr. Manzano’s guilt, the jury must acquit him.

On the other hand, if the jury should find the government has met its burden of proving Mr.

Manzano’s guilt beyond a reasonable doubt, it should not hesitate because of sympathy, or any

other reason, to render a verdict of guilty.




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V.      CLOSING ARGUMENTS

        At this point we will interrupt the instructions to hear closing arguments of counsel. I will

conclude the instructions after those summations. Remember, what the lawyers say in their

closing arguments is not evidence, but it is merely argument about what the evidence shows.



                           [BREAK FOR CLOSING ARGUMENTS]


     A. Lawyers’ Arguments Are Not Evidence

        You have just heard closing arguments of counsel. I want to remind you that what the

lawyers have said is not evidence, even if it seemed at times as if they were testifying. The

lawyers merely presented their arguments about what the evidence has shown. Their credibility

is not an issue that should enter into your decision in this case.




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VI.    CONCLUSION

       Your verdict must be unanimous and represent the considered judgment of each juror.

       Each of you must make your own decision, but you must consider impartially all of the

evidence and the views of your fellow jurors. It is your duty to consult with one another and to

deliberate with a view toward reaching an agreement, if you can do so consistent with the

individual judgment of each juror. Until a verdict is agreed to by each juror, it is not a unanimous

verdict.

       In the course of your discussion, do not hesitate to re-examine your own individual

views, or to change your opinions, if the deliberations and the views of your fellow jurors

convince you to do so. But you should not surrender your honest judgments about the facts or

about the weight or effect of the evidence solely because of the opinion of your fellow jurors or

merely to bring an end to deliberations.

       Remember at all times that you are not biased; rather you are the judges of the facts and

your sole interest is to seek the truth from the evidence in this case.

       When you return to the jury room, you should first elect one person to act as your

foreperson who will preside over your deliberations and will be your spokesperson here in court.

       A verdict form has been prepared for your convenience. Focusing on the questions set

forth in the verdict form will assist you in your deliberations. You must complete and return the

verdict form in court when you have reached your decision. Each answer must be unanimous.

The verdict form must be used only in connection with the charge I have just given to you. The

terms used in the verdict form are discussed in my instructions, and these instructions must

govern your deliberations. When you have reached a unanimous verdict, you will have your

foreperson fill in your answers, date and sign the verdict form. Then inform the court security

officer or clerk via note that you have reached a verdict. Do not write in the note what the
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verdict is.

        I want to caution you now to take your time when completing the verdict form. As you

will see when you retire to the jury room, the form consists of several questions. Answer each

question as it appears.

        When you go into the jury room to begin your deliberations, you will be able to review

the exhibits electronically. My clerk will instruct you on how to use the jury electronic software

system. I urge you to utilize our jury electronic software system to review the evidence because

it allows everyone to view the same piece of evidence at the same time. If you have any

technical issues, please let us know promptly.

        You will not have a transcript of the testimony. If you want any of the testimony read to

you, that can be done and will occur in open court. I encourage you to limit the recitation of

testimony. It is not easy to locate specific portions of the testimony, and reading the testimony is

a time-consuming process, so please be as specific as possible if and when you decide to request

a reading of portions of the testimony.

        Requests that testimony be read back, as well as any other communication with the court,

including requests for assistance with the jury software system, should be made in writing,

signed by your foreperson, and given to a marshal or a court security officer. I will respond to

your request as promptly as possible either in writing or by having you return to the courtroom

so that I can address you orally.

        I also must warn you that in your communications with the court you should never reveal

your numerical division at any time.

        It is proper to add a final caution.

        Nothing that I have said in these instructions—and nothing that I have said or done



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during the trial—has been said or done to suggest to you what I think your verdict should be.

What the verdict shall be is your exclusive duty and responsibility.

       Jurors ____ are our alternates. Please go to the jury room to retrieve your belongings and

then return to the courtroom.

       You, the jury, will soon proceed to your deliberations in the jury room. Deliberate only

when all of you are present. After you begin your deliberations, you are not to leave the jury

room without first notifying the marshal or court security officer, who will escort you. No

deliberations may take place without all jurors being present. If you have brought your cell

phones or computer tablets into the jury room, you must turn them off during deliberations. You

must not research any issue nor communicate with each other or with anyone else about the case

through the internet, e-mail, text messaging, or on Twitter, through any blog or website, through

any internet chat room, or by way of any other social networking websites, including Instagram,

Facebook, WhatsApp, LinkedIn, and YouTube. Further, if at any time a juror is in the bathroom

facilities or on a cell phone, the other jurors must immediately cease deliberations and may not

recommence deliberations until all jurors are present and all cell phones are off.

       As you deliberate, determine the facts on the basis of the evidence as you have heard it

and apply the law as I have outlined it for you. Render your verdict fairly, uprightly and without

a scintilla of prejudice. Take as long as you think is necessary to fairly and impartially reach your

verdict.

       Thank you for your attention.




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